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Cristine Soto DeBerry, “We spent a day in Manhattan learning the ropes of how they used data, and Kerry
Chicon came and spoke to our board of supervisors. It’s very clear lo our D.A. that we are
overincarcerating, and we need to do something different. Jail is not an economically sustainable model.
We need to know for whom jail is appropriate and whom it isn’t. That’s where data becomes very useful.”
In some ways it may be easier to be the district attorney of Manhattan in an era when New Yorkers aren’t
so inclined to do terrible things to one another. And yet the Manhattan D.A.'s office still handles more cases
than the entire United States Department of Justice. Vance’s predecessors didn’t have to cope with the
terabytes of digital evidence now central to many prosecutions, or with malign enterprises particular to our
time, like cybercrime (200 to 300 complaints a month in Manhattan alone) and Jone-wolf terrorism.

Vance was especially frustrated that his office had been unable to stem the upsurge in domestic violence.
While the index felonies were going down, misdemeanor arrests in Manhattan were going up. And arrests
for grand larceny, many of which involved iPads and iPhones, were running counter to the positive crime
trends,

“{ don’t want to be known as the D.A, whose main mission was reducing property crime, but it is important
we excel even in these kind of cases,” Vance said. “The bar Bob Morgenthau set when he left was very
high. It’s my job to raise it.”

It was almost midnight, and he was sitting in a pub in Chelsea reflecting on his first four years on the job.
The supporters who helped him secure another term had gone home, “So,” asked his wife, Peggy, “what
three things have you earned about yourself?" Vance gazed at her evenly, well aware of the perils of
domestic cross-examination. “You just have to be honest,” she said.

“I'm thinking,” he said, looking, for a moment, as if he would rather be coping with the recent outbreak of
mold at their country house.
“Cyrus has always been a question to himself,” Peggy said to me. “The things that should make hin happy |
didn’t make him happy, He’s never had the ability to separate himself from his work.” |
Jimmy Zaccari, a detective on Vance’s protection detail, was waiting outside in a black Suburban to drive |
the couple home. It was a quiet night, except for the cry of far-off sirens, Changed as it might be,
‘Manhattanrwasstillthe place whereJose Pimentel-plotted toterrorize- New-¥ orkers-by-detonating pipe j.
bombs, and Corey Dunton stands accused of firing a gun at skaters in Bryant Park, and Cesar Lucas raped a |
woman on the West Side. It was still the place where, among thousands of nonviolent but still disgraceful

affronts to the civility of city life, Dr. Lawrence Levitan stole insurance money from a hospital and Naim

Jabbar wrung cash from people for eyeglasses they didn’t break. It was still the place where even a Times |
Square Elmo impersonator had been jailed for harassment and extortion, Gentler times in Manhattan?

Maybe someday — but not tonight. Sirens in the night meant cases in the morning.

Correction: December 7, 2014

An article on Page 22 this weekend about Cyrus Vance Jr., the district attorney of New York County,
describes incompletely a shooting incident at the Bryant Park ice rink in November 2013 and misspells the
given name of a man charged with shooting skaters, He is Corey Dunton, not Cory, and he has pleaded not
guilty and is awaiting trial; it has not been established that he “fired a gun at skaters.” In addition, the
article misstates the length of time that Robert M. Morgenthau served as district attorney of New York
County. It was 35 years, not 34,
 

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Exhibit H

 

 
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Adarn Gargant
To Whom kt May Concem:

This reviews a phone conversation | had wath the New York Citys Lastrict
Attorney's Office.

On February 2 of 2011 | received a voicemail message trom Maria Stohbhen
stating she was fram the District Anomey's Office and was calling as part of a
matter she was handling with one of my tenants. and requested = return call,
which } cid.

The matter involved Kelly Price who was my tenant at that ime at 237 West
120" orreet, #1 New-York, NY 10027 from July of 2007 to August of 2013.

Mes Strohbhen hag several questions to ask me conceming events that had
taken place at the building Specifically these involved incidents where the police
had been called and other events that involved aercations between Ms. Price
and @ man.

Mss Strahbhen asked me about my knowledge of these events in beth the
structure of the questions and the inflection with which these were asked, it was
apparent that the purpose was lo question whether these events happened, and
as it was directly communicated, to question whether Ms Price had been telling
the truth, which she posed was not the case.

uintormed Mass Strohbhan that! was aware a issues aking place Dy rapons
from my other tenants as weil as conversations with Ms Price |told Mss
Strohbhen that although | did not have any direct knowledge ot what look place
since | did not live at the building, and was not present when they occurred, | also
had no reason to question the veracity of ether the raports trom my other tenants
me Ne. Prices

| would characterize the reaction at Miss Strohbhen to my responses as
frustrated or annoyed.

She indicated that she was daaling with Ms. Price and was fooking to assemble
information thal refuted claims that Ms. Price nad mage she suggested that Ms.
Price had been making false statements. {told Mss Strohbhen that | although |

 

 
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Case 1:15-cv-05871-LAP Document 16-2 Filed 05/09/16 Page 59 of 61

could not comment on any specs event on the basis of other than what} had
been told, that in my dealings with Ms. Prica as a tenant in general | had no
reason to presume that her claims. or the reporte-af my other tenants, were e658

than (he truth.
The names nt nther tenants of neighbors were not requested

Miss Strohbhen gave me the impression she was less than satisfied with the
outcome of her call and ended it abruptly

Swiceraly,

  

ndlord and Owner of 287 West 120°" Street, NY NY 10027

EVergreen §- Corporation
267 Carleton Avenues
Sutte 202

Centra) islip. NY 11722

347 237 0100

 

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Exhibit |

 
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Elizabeth Walker
235 West 120th Street Apt 2
New York, NY 10027

(917) 575-9600

April 22, 2014
To Whom It May Concern:

I-was one of Kelly Price’s neighbors when she lived at 237 West 120th Street. I have
lived at 235 West 120th Street for five years. I am an attorney and have been a member
of the New York State Bar for over seven years. |

During the course of our relationship as neighbors and eventually as friends, Kelly shared

with me the trouble she had obtaining police assistance from members of the 28th

Precinct on multiple occasions when she had been attacked by people in our |
neighborhood, including her ex intimate partner, Raheem Powell. I did not witness the

events or attacks Kelly described to me, but throughout 2011 and 2012 she would cry and

talk to me whenever she was assaulted. Kelly believed the women who assaulted her

were associated with either her ex, his alleged drug dealing associates or his childhood

cronies, Kelly was particularly dismayed that the police refused to take her reports,

follow up on assaults against her person, or regard her as a member of society needing
protection-in-general.She told me-that-officers in the precinct told her that the district |
attorney’s office had instructed them not to: assist her.’ Candidly, I did not entirely believe |
that the police would refuse Kelly, and I suspected that she was omitting some dispositive |
reason why the police were reluctant to intervene on her behalf against her various |
alleged attackers.

On the evening of October 18, 2012, Kelly called me crying and asking for my help. |

observed her distraught and injured after she said she had been assaulted in broad
daylight on the corner of our block, at 120th Street and St. ‘Nicholas Avenue, at |
approximately 5:30 p.m. while she was en route to her home from the 125th Street
subway. I observed that she was disheveled, her stockings were torn and her knees and.
hands weré bruised and bloodied. Kelly was nearly hysterical, and I had to calm her

down and give her medical assistance, Kelly related that a purported heroin dealer

named Willy who was known to many residents in the neighborhood (he purportedly

operated his business from a visible stoop on Saint Nicholas Avenue) had “jumped” her

and hit her in the face, spit at her and pushed her onto the sidewalk, all the while

screaming insults at her. I do not recall what Kelly said she said to him before or after

the attack, but I do. recall that she said she did not provoke him or retaliate against him

physically. I took pictures of Kelly and her wounds, and encouraged her to call 911 for

assistance in reporting the crime. Kelly stated that she already had called the 28th
Precinct and that a patrol car had been sent to the scene of the assault. Kelly said that |
when the officers arrived they refused to take her report and called her crazy. Kelly also |
stated that she had then walked to the precinct, three blocks away, for help and had been
rebuffed by the desk sergeant, who Kelly said ridiculed and mocked her.
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Notwithstanding her story that she had sought police intervention earlier that day, I
insisted that she cal! 911 again and report the chain of events. She complied.

 

Eventually another patro! car arrived in front of our building. Two police officers, whom
Kelly has since reminded me were named P.O. Longo (shield # 31565) and P.O. Walker,
related to us that they were instructed by the station’s desk sergeant not to take Kelly’s
reports. P.O. Walker stated that the District Attorney’s office had instructed the precinct

not to respond to any of Kelly’s calls. I recall being genuinely shocked and outraged to

hear this instruction, and further surprised that a young woman, like P.O. Walker, would

be tasked by her superiors with being complicit in a practices that lefi a domestic |
violence victim without recaurse for protection. At this juncture, I introduced myself as
an officer of the court and member of the NY State Bar, and reminded the officers of
their legal and ethical responsibilities to provide complainants with police services, I
recall that the officers responded more favorably tome than they did to Kelly, but I could
not discern whether this was the case because I notified them that I am an attorney, or
because I'm just someone other than Kelly Price. P.O. Walker stated that she would take
basic information about the incident, but she believed that once the precinct began to
process the event, it most likely would be “circular-filed” in the trash bin, P.O. Longo
gave Kelly an incident ID slip and told her to follow up with the precinct in a few days,
then both officers left. 1 was-then, and remain, dumbfounded by what I witnessed
transpire that evening.

As-a-single-young-woman living-and-working in NYC, it unsettled me that the police
could be so cavalier about Kelly Price’s safety. Kelly has since told me that the
complaint number she was given months later when she inquired. as to why no one had
ever followed up with her about the incident was 2012-28-005194, Kelly also informs
me that the detective squad at the 28th Precinct closed her incident report without
contacting her either to identify the perpetrator of the attack or review the emergency
room reports or follow-on orthopedic assessments describing: Price’s injuries resulting |
from the attack. oe

Please feel free to contact me concerning these events.

Sincerely

Ji pe PE

Elizabeth Walker

  
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Case 1:15-cv-05871-LAP Document 16-3 Filed 05/09/16 Page 3 of 71

Marilyn Benetatos

231 West 120" Street
N.Y. N.Y. 10027

(212) 663-5372 (home)

(347) 203-2623 (cell)

To whom it may concern:

I was a neighbor of Kelly Price when she lived at 237 West 120" Street. I am
a manager in Con Edison where I have worked for over 26 years. I have
approximately 70 employees in my chain of command. I lived on the street
for over 12 years, walk my dog every day and know and get along with my
neighbors.

In the spring and summer of 2011 and later in 2012, there were some
problems on the street related to young teenagers from other blocks hanging
out-on-1.20" street-vandalizing.cars,the.school yard, fighting in the streets
and being somewhat threatening to others. As a result, a group of us from the
block attended monthly meetings at the police station to make our issues
known there and to get further on-going support from the police and the
community officer. The police were very helpful, offered a lot of support and
worked with us and the principal at the local school and facilitated the
problem going away.

After the formal meeting, the head of the station, Captain Rodney Harrison,
invited attendees to speak with him personally about issues of concern. 1

went up to him after one of these meetings and asked him why more was not
being done to help Kelly Price, who everyone knew was being battered. I
was concerned because the young teenagers seemed to be learning the wrong
thing from the situation. At that time, Captain Harrison told me that he had
never seen anything like it, but he/the police were told to not respond to Kelly
Price without the direct instruction of the District Attorney’s office. He said i
it was strange but indicated that, to some extent, his hands were tied.

I found his response really surprising, so it stood out in my mind. I don’t
remember when or in what circumstances I came to be telling Kelly Price the
Case 1:15-cv-05871-LAP Document 16-3 Filed 05/09/16 Page 4 of 71

details of my interaction with Captain Harrison.
Please feel free to contact me, should J be able to assist you further.

Sincerely,

 
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Exhibit K

 
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N.Y. / REGION

In Conspiracy Trial, a Query: What,
Exactly, Is a Gang?

By JOHN ELIGON OCT. 11, 201%
From a telephone on Rikers Island, an inmate barked out his orders to a man in
Harlem, prefacing them with an explanation.

“Yo, there’s money out there right now,” the inmate, Jaquan Layne, said. “Go
outside.”

The man on the other end of the line, Jeffrey Brown, turned to the others inside
the Harlem apartment and echoed Mr. Layne’s orders: “He said there's money out
there right now, Go to the block.”

There were other directives: Mr. Brown should collect some money from a
woman named Gloria, and if she asked any questions, she should be told that Mr.
Brown was “taking care of this now” because Mr. Layne was locked up. Another man
in the apartment, Habiyb Mohammed, was asked to monitor the others because they
were “new at what they’re doing right now, so, like, keep them on point.”

This recorded phone call and dozens of others between Mr. Layne and his
friends form the central issue in a trial in Manhattan that might at first seem simple:
What is a gang?

To Manhattan prosecutors, a gang is a structured criminal organization, and Mr.
Layne’s worked together as a drug-selling enterprise that defended its turf, a block of
137th Street, with violence.

http://www.nytimes,.com/201 1/10/12/nyregion/harlem-drug-conspiracy-case-is-heading-to-jury htm... 5/9/2016
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But to the lawyers for Mr. Layne and four co-defendants, the group, while
perhaps selling drugs, was anything but a structured trafficking enterprise.

The trial began three weeks ago and is expected to go to the jury on Wednesday.

The defendants, portrayed by prosecutors as gang leaders, are Mr. Layne, 21; his
brother Jahlyl, 18; Mr. Brown, 20, who is.a cousin; Mr. Mohammed, 31; and
Jonathan Hernandez, 19. Jahlyl Layne is charged with second-degree conspiracy.
The other four are charged with first-degree conspiracy, which carries a maximum
sentence of life in prison.

The prosecutors, who must prove that the defendants agreed to commit a crime
and took steps to do so, are using the recorded telephone conversations to illustrate
what they say is the behind-the-scenes planning and structuring of a drug
organization.

Conspiracy charges are generally difficult to prove, legal experts said, but they
offer prosecutors a great reward: they can bring down multiple defendants at once
and wipe out entire pockets of crime.

Karen Friedman Agnifilo, chief of the trial division in the Manhattan district |
attorney’s office, speaking generally about gangs and not about the case currently on ;
trial, said, “They might not be as structured or organized, but they’re not less
violent.” She added, “We're focusing on violence.”

She said Cyrus R. Vance Jr., the Manhattan district attorney, emphasized a
holistic approach in which the office not only prosecuted violent groups, but also
promoted community-building activities to help keep young people away from
crime.

Law enforcement authorities said that modern-day gangs in New York City
shared several characteristics: members tend to be young, under 20; they are
territorial, attaching themselves to a specific block or housing project; they are well
armed and instantly violent. Some gangs simply exist to fight other gangs, while
others are centered on crimes like gun trafficking.

http://www.nytimes.con/2011/10/12/nyregion/harlem-drug-conspiracy-case-is-heading-to-jury.htm.., 5/9/2016
 

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In the 137th Street case, prosecutors said, Jaquan Layne was the ringleader of a |
gang tied together by a drug operation. But where prosecutors hear strategy and |
planning in telephone conversations, Mr. Layne’s lawyer, Franklin Rothman, hears a
young man who likes to boast.

“They have nothing on Jaquan Layne other than his big, stupid mouth that got
him in trouble,” Mr. Rothman said in his opening statement. “He’s not part of a
conspiracy. He’s not part of this gang. He’s a guy from the block.”

In one call, Jahlyl Layne seemed intent on collecting on a debt, even though he
was in jail.

“You know them fiends still owe me that money, too,” he told the man on the |
other end of the phone. “Go get that money, B.” !

“I’m gonna go knock on that door for you,” the man responded. “I got you.”

Prosecutors said some of the calls also described the group’s violence and the
passing of weapons. Pierce Gross, who is not on trial but was one of the people
charged with the 137th Street group, told someone in a recorded call that “Jon
snapped,” meaning he had fired a gun.

Mr. Gross was speaking of an episode, prosecutors said, in which Mr.
Hernandez fired several shots at someone, leading to an attempted-murder charge
being prosecuted in the trial. |

Some of the phone calls displayed internal strife, prosecutors said. In one call,
Jahlyl Layne told Louis Williams, who prosecutors said was in the gang, that
someone was “gonna kill” him and others in the group who were still on the streets
because, he said, using a term for money, they “ain’t setting no chicken out” to those |
who were in jail. They were “due a spanking,” Mr. Layne said.

Mr. Williams called Mr. Layne’s bluff, saying they were not “gonna kill nobody.”

|
In another call, Jaquan Layne appeared to complain that Mr. Brown and
another man were still selling drugs but not putting any of the money in his
commissary account at Rikers. They “ain’t sending me no paper,” Mr. Layne told

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Afrika Owes, a former private-school student who.was also charged in the case but

pleaded guilty to lesser charges.
“Who they selling it for?” Ms. Owes asked.
“They self,” Mr. Layne responded.

Mr. Rothman, his lawyer, has said that that answer indicated an every-man-for-
himself attitude, rather than some structured drug organization with people working

together.

 

Yet in another call, Mr. Layne appeared to be instructing Ms. Owes on how to
take care of herself, After she explained that she was carrying guns, Mr. Layne told
her that if things got crazy, she should use them — “let it go, let it go.”

“T got you,” Ms. Owes responded.

“Make sure,” Mr. Layne said, “head shots only.”

A version of this article appears in print on October 12, 2011, on page A21 of the New York edition with
the headline: In Conspiracy Trial, a Query: What, Exactly, Is a Gang?.

 

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Exhibit M
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Maria Strohbehn
Assistant District Attorney, Manhattan Districl Attorney's Office
Location
New York, New York (Greater New York City Area)
Industry
Law Practice
Maria Strohbehn’s Overview
Current
» Assistant District Attorney at Manhattan District Attorney's Office
Past
* Law Clerk at U.S. Department of Justice, U.S. Attorney's Office, District of Maryland
* Intern at State Attomey's Office, Anne Arundel County
« Law Clerk at National District Attorney's Association/ American Prosecutot's Research Institute
see all...
Education
* The George Washington University Law School
* University of Maryland Baltimore County
Connections
77 connections
Maria Strohbehn’s Experience
Assistant District Attorney
Manhattan District Attorney's Office
Law Practice industry
Scptember 2008 — Present (2 years 11 months)
- Research and write various pre-trial and post-conviction motions, including motions in opposition of
dismissal, motions in opposition of vacating judgment, and motions for protective order
- Write search warrants including residences, computers, cellular telephones, and other mobile technology
- Present cases to the grand jury in Manhattan, from complex identity theft cases to domestic violence
assaults
: Investigate and prosecute long-term employee fraud
- Serve as First Chair on bench and jury trials
Organize trial strategies by reviewing evidence and developing themes
- Collaborate with family lawyers in domestic violence-related custody and divorce issues im the
Integrated Domestic Violence Part of the New York County Supreme Court
- Volunteer, such as a presentation to adolescents in upper-Manhattan on various aspects of the criminal
law and law enforcement issues in New York, including dating violence
- Attend continuing legal education seminars including a lecture on various forms of financial evidence,
and its collection
- Write complaints to commence prosecution on the basis of a thorough review of evidence in shifts,
including shifts into the early morning
- Balance a caseload of about three-hundred active cases with an aggressive court schedule’ Chosen to

begin working on a bureau based project targeting gang-related violent crime in the 28th
precinct in 2011

 
 

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Exhibit N

 
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12/20/10

9:32 PM

1/2 Chalupa u fucking with this dude: but you on my back about girls. trying to get me
locked up for no reason. When | get locked up I’m showing and telling

2/2 everything. And calling warren once | get locked up.

 

9:46 PM: | will turn your life upside down one I’m in Jail.

10:02 pm: Yea if you say so Hoe: Everybody is going to know

10:25 pm: so they will love all the great things | got to show them

10:31 pm: its your word against mine let’s play | got pi and everything else. Daddy and
mommy and big bro will love my info. And | saw your speed dial u got two guys on

speed dial ur sad broke and a hoe. ur a loser

40:33 pm: warren rob warren rob warren rob they going to love me

12/21/10

6:37 am: lets have make up sex my dick is rock hard

 

(12/21 time unidentified sometime between 6:37 and 10:17 am)

[TEXT BENEATH NAKED PHOTO OF ME]

U see that window that’s your house. Just leave me alone please | don't want to be with
someone that wants to get me locked up, Plus Hoeing

(12/21 time unidentified sometime between 6:37 and 10:17 am)
[TEXT BENEATH NAKED PHOTOs OF ME]

Two taps | can see every word even your number and | got more. Just leave me alone
and stop lying to the cops. I'm not going to fuck you intill | get lock up for no reason

|
|
|
|
10:17 am
| have Keys

10:19 am: U think I’m playing. Play with the cops and u will never hoe or work again
10:21 a.m: Your is too

10:25 a.m. thanks more for the cops when you get me locked up
Case 1:15-cv-05871-LAP Document 16-3 Filed 05/09/16 Page 16 of 71 |

10:28 Not when they see what | got and the people who will come downtown to heip me
10:32 that paper will

12/22:

9:02 a.m.: Did you pay my car note

9:20 am: | was making a lot of money when | had my car. How u think | saved your ass |
so many times. When u had no money. | would love it if u can pay my car note like you )
said u would but if not we can go 310 310 = 620 or | can pay it by myself just the the

info. please | need that car on the streets. | don’t have to get nj plate it koool. | will wait

intill the weeks are up. ate the gym I’m taking a cab to my lot and going to the dmv to

take back my plates

RESPONSE 9:30 am: You ignore every holiday you spend hem with someone else
including my birthday ! can’t wait till your car is gone

9:28 am: when they take my car I’m telling every thing that on niya |
9:30 am: once that go u know what's going to happen

9:30 am RESPONSE: | am not talking to you until | get my phones and i'm warning you
stay away from the DMV u have no right to conduct my business |

10:07 am: So get my car took of u want. Just know what’s happens after. no order can |
stop me from talking.

RESPONSE: 10:10 am | hate you for ruining me but ! will survive you been doing me
filthy for too long

10:16 am: Hell no tell me how? other way around, Ruining you how? Ur selfish an i u
fuck me with the cops or my car u will not survive because I'm going to really ruining u
like u keep trying to do to me. But I’m going to OVER DOSE ON YOU. So give me the
info or let’s go half or pay the note. but that car is not going no where.

10:22 am: | will never fuck you. But u fuck me so many times. So I'm not letting u get |
away no more. You know right from wrong so u fuck me I’m going hard. Please | love
you so don’t make me do this
 

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Page 20 UTuo

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Exhibit 0
Case 1:15-cv-05871-KPF Document 21-4 Filed 09/02/16 Page 24 of 66
Case 1:15-cv-05871-LAP Document 16-3 Filed 05/09/16 Page 18 of 71

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Case 1:15-cv-05871-LAP Document 16-3 Filed 05/09/16 Page 19 of 71

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Exhibit P
Case 1:15-cv-05871-LAP Document 16-3 Filed 05/09/16 Page 20 of 71

 

 

 

 

 

 

 

 

 

 

 

    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  
    

 

 

 

 

 

 

 

 

 

 

 

 

 

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Case 1:15-cv-05871-LAP Document 16-3 Filed 05/09/16 Page 21 of 71

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EXTREMITIES —-_see diagram {NSA owl itera entero fa Qs ee ST
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inl calor ftermp limited ROM / ligaments ents xy. ‘ CXR ‘
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Page 2 of 2

 

 
Case 1:15-cv-05871-LAP Document 16-3 Filed 05/09/16 Page 22 of 71

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Fri, 22 Apr 11 1450 Page 3 of 8

Chart Review Print

Metropolitan Hospital Center

 

Location Patient Name Patient Number Visit Number Age Sex
DIS-Hda6 Price, Cathleen 1674607 Lé74607~4 40¥ ¥ ;

 

 

Attending Physician
Meletiche, Carlos M, MD

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ED Adult RN Initial Note -- cont'd

Braden Scale : Score: 22 Scale: no risk Sensory Perception: responds to
verbal commands,has no sensory deficits Moisture: akin
is usually dry Activity: walks £requently during
waking hours Mobility: makes position changes without
assistance Nutrition: eats over half most meals or on
tube feeding or TPN regimen which probably meets most_
of nutritional needs Friction/Shear: moves in bed and
in chair independently.

Skin Lesions?: yes

Lesion Detail: Lesions: laceration, hematoma Location: right. posterior
thigh, facial

Lesions: laceration Location: right thigh, left buttocks,

face
Photo i not applicable
problem list:
Diagnosis «+
Working: Diag:
Resulted by : Lopez,Michelle, RN (ESOF)

Ordering MD : (ESOF)
Case 1:15-cv-05871-LAP Document 16- 3 Filed 05/09/16 Page 23 of 71

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‘ia nw PW 3
Fri, 22 Apr 11 1450 Page 4 of 8
Chart Review Print

Metropolitan Hospital Center

 

Location Patient Name Patient Number Visit Number Age Sex |
DIS-Hd6 Price, Cathleen 1674607 1674607-4 40Y¥ F
Attending Physician

Meletiche, Carlos M, MD

MDInitNote DellaFavaA
Event. Time: Thu, 121 Nov 10 0336 Status: complete

Thu, 11 Nov 1060 06066 Documented by Carlos M Meletiche, MD

T 5 97.9 F (36.6 C)
P : 84 bpm

BP : 129/77

R ; 18

Pain : yes

Pt Walked Out? : no

be

Time Pt Seen 11Nowv2010_ 0326.

 

Visit Provider ; Albert David Della Fava, MD

Attending : Carlos M.Meletiche, MD

Communication ; Direct Cotmunication in Patients's Primary Requested
Language

Chief Complaints : Assault Sustain 3 laceration to Rt posterolat thigh and
facial hematoma

TB/Pneumonia . : Fever: no Cough: no Night Sweats: no Weight Llosa: no
Assessment >: ve wnl, mild distress however patient calmed during exam,

no respiratory distress or SOB, abrasion/bruise to right |
infraorbit, no orbital tenderness EOMI, erythema to

lateral neck and throat, 5 cm laceration ta left buttock,
4°2.5 om lacerations to right hip, no boney deformates or

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t
Shortness of Breath: no
joint complaints

|

Plan ; clinical work up as ordered
Diagnosis : Assault by other specified means
E&M Level : pon critical visit

Non-Critical Vst : 99283 expanded problem focused hx, exam and mod complex MDM
Attend'g Addendum: Gen Supv

DAWN? : no
Comment ; See paper chart
Diagnosis H968.8 Assault by other specified means

Principal Pr: 8968. 8 Assault by other specified means
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Case 1:15-cv-05871-LAP Document 16-3 Filed eee A 25 of 71

Fri, 22 Apr il 145

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0 Page 5 of 8

Chart Review Print

Metropolitan Hospital Center

 

Lecation Patient Name Patient Number Visit Number Age Sex
DIS-Hd6 Price, Cathleen 1674607 1674607-4 40¥ F

Attending Physician
Meletiche,Carlos M, MD

PHM/PSHx/ Fam:

Diagnosis :

Working Diag:

Resulted by : Meletiche,Carlos M, MD (ESOF)
Ordering MD (ESOF)

ED RN Disposition Assessment

~ vent Time: Thu, 11 Nov 10 0554 _ Status:—complete

thu, 11 Nov 10 90558

discharge Disposition:
Jome Care Discharge :
Diagnosis
Vital Signs

Barriexs to Learning +
bd Blan eg

Valuablea/Clothing +:
Comtent : i i

Medication Order (5s)
Medication Effect (s)

Diagnosis ;
‘ Working Diag: B968.8

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Documented by Nakita Mccoy, RN

treated & released
no.

:; Assault by other specified meang

SBP:: 121 mmHg DBP:: 64 mmHg P: 76 bpm R: 17 Ts
97.8 F (36.6 C) Temp Route: oral O02
Saturation: 99 %* Comments: ROOM ATR
none toe cet
MEDICATION AS PRESCRIBED, FOLLOW UP IN CLINIC AS -
DIRECTED. RETURN TO ER FOR ANY NEW OR WORSENING |
CONCERNS. NAD NOTED.
patient kept at own risk
PY OUT WITH STEADY GAIT. RESP EVEN/UNLABORED. NO
DISTRESS NOTED. PT VERBALIZED UNDERSTANDING OF INSTR
‘PROVIDED BY DELLFAVA, MD
: Adacel (Tdap 11-64y) (Tetanus Toxoid, Reduced +
Diphtheria Toxoid & Acellular Pertussia Vaccine
Adsorbed)
: no adverse effects for all new medications

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Assault by other specified means

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Case 1:15-cv-05871-LAP Document 16-3 Filed 05/09/14 rite gf ff S

Fri, 22 Apr 11 1450 Page 6 of B
Chart. Review Print

Metropolitan Hospital] Center

 

 

Location Patient Name Patient Number Visit Number Age Sex |
DTS -Hd6 Price, Cathleen 1674607 1L674607-4 A0Y F ‘t

Attending Physician
Meletiche, Carlos M, MD

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BD Chest Pai:
Diagnosis

Resulted by : Mecoy, Nakita, RN « (ESOF)
Ordering MD ; (BSOF)

 
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Metropolitan Uospital Center , lof 4 ™ 27
Deprartwent of Linergency Medicine 4 bP tay r )
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212-423-6466 CEUM Ede

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Discharge Instructions for: Mbvpeci
(condition)

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should follow-up wich a phystcina for further evajuation and treatment. tf you have any questions ar concerns regarding your emergency
department trealment, please celurn to the Banergency Department. Natify your own pliysteian for any new or paniaining problems. U

you are concemed about tise problems, alense relumn to this or any olher Emergency Departinent. Otherwise, fallow these Instructions
below, ;

The cosulls of x-rays, ullrasounds, bigod lesis and EKGs are prelifninary at this time. They will be reviewed by a spectalist, usually

wiihia 29 haurs, Should it be necessary, you will be comtacled, Notify your primary care physician if you fad suet tests done during
your emergency visit.

Please make sure thot you fmye notified the physicians apd nurses of all of your past (iiedical and surgical history as well a3 any
medieations (Including over-the-counter nad Jieibal preparations) that yun nee currently taking. .

Return (0 the Emergency Department, or any other emergency Deparment, far any current of new problem thet you think may be «
seclous (lireat to your healt, These problems vary depending on your underlyitip condition, but Include such problems as high fever,
severe pain, shortiess of breath, persistent vormling, excessive dlarthea, heavy blecding, block stoola, selzure/convurlston or cliange in
bshavlor. Ask your nurse or doctor (o tafarm you of ary problems that may le more specific ta your visit taday,

_ Couthiue taking any previously presertbed medications, in addition (o any new ones from today, unless viherwise Informed, Please make

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any other doctor,

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appointment center al 217-423-7000 for an appolotment to the clinic, Inform them that:you need io be seen withtis
4his number of days,

oa Btollowupin S67 ctinie within A days 212-425-7000)
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Case 1:15-cv-05871-LAP Document 16-3 Filed 05/09/16 Page 28 of 71

Exhibit Q

 
Case 1:15-cv-05871-LAP Document 16-3 Filed 05/09/16 Page 29 of 71

1 FAMILY COURT OF THE STATE OF NEW YORK
CITY OF NEW YORK: COUNTY OF NEW YORK
ar at te rt em et tm, a re x
In the Matter of a Family Offense
3 Proceeding :
4 KELLY CATHLEEN PRICE, ,
5 Petitioner, ; DOCKET NO,
O-10874/10
6 -against- :
7 RAHEEM POWELL,
8 Respondent. :
wee ee a ee a ee ee ee ee x
i) Held: 60 Lafayette Street
New York, N.Y. 10013
PTO -March—24;—2011-—-Part—5,
11
Before: HONORABLE LORI S. SATTLBER, JUDGE
LZ
13 Appearances: /
EDWARD GREENBERG ', ESQ.
14 Attorney for the Petitioner
15
WILLIAM O'HEARN, ESQ.
16 Attorney for the Respondent
17
18
Also Present:
19
Kelly Price
20 Raheem Powell
al
22 .
Kitty 8S. Irizarry
23 Official Court Reporter
24

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Case 1:15-cv-05871-LAP Document 16-3 Filed 05/09/16 Page 30 of 71

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Proceedings

 

COURT OFFICER: Six and fourteen in the matte: |

Price and Powell.

Counsel, your appearance,

MR. GREENBERG: For the petitioner, Your Hono1

Edward C. Greenberg, 570 Lexington Avenue, New York, New

York.

Good morning.

COURT OFFICER: Raise your right hand.

(Whereupon,

by the court officer.)
MS... PRICE:
MR. POWELL:

THE COURT:

the following parties were sworn i

Kelly Catherine Price.
Raheem Powéll.

Geed morning, Your Honor.

You are entitled to have an attorney in this

proceeding. If you don't have an attorney, I can assign ¢

to represent you. You can also decide you would like to ¢

forward on our own without an attorney, or if you would

like, you can hire or consult with an attorney that you

would pick.

Do you want an attorney in this proceeding?

MR. POWELL:

THE COURT:

Yes.

What's your source of income at the

present time? Are you working?

MR. POWELL:

THE COURT:

Yes.

How much are you earning?

 

 

 

 
Case 15 -cv.0538 71 KP

|
Case 1:15-cv-05871-LAP Document 16-3 Filed 05/09/16 Page 31 of 71

Proceedings

 

L MR. POWELL: like $250 a week.

2 THE COURT: Are you a member of a union?

3 MR. POWELL: (No response)

4 (Whereupon, the following party was sworn in k

5 the court officer.) .

6 DETECTIVE SIMMONS: Detective Linda Simmons,

7 shield number 2653 of the 28 Detective Squad.

8 THE COURT: Sorry to drag you in, Detective

9 Simmons, but I have a couple of questions, since I was |
10 informed that you are here to arrest the petitioner.
Ta DETECTIVE SIMMONS: Weare hereto pick her —up
12 for another detective that will be arresting her.
13 THE COURT: Anything related to my case here?
14 DETECTIVE SIMMONS: It's between the two of th
15 It's between the two of them and how she calls him and |
16 threatens to have him arrested if he doesn't come see her.
17 ‘(Whereupon, Mx. O'Hearn entered the courtroom. |
18 THE COURT: Mr. O'Hearn is going to be |
19 representing the respondent. |
20 Do you want to note your appearance.
aL MR; O'HEARN: William O'Hearn, 225 Broadway,
22 appearing for the respondent. .
23 THE COURT: Okay. So he had a family offense
24 case at some point in time, but your Order of Protection x
25 vacated when you didn't show up on March 9th..

 

 
Case 1:15-cv-05871-LAP Document 16-3 Filed 05/09/16 Page 32 of 71

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9

Proceedings

MR. POWELL: I was on the wrong floor,
THE COURT: Did you file again?
MR. POWELL: No.

THE COURT: So are you picking her up for

 

violating the order?

DETECTIVE SIMMONS: She is going to be arreste
for aqavevaked harassment,

THE COURT: Okay, got you.

MR. GREENBERG: Your Honor, with respect to

Mr.. Powell's claim that he was in the wrong room, I know

Your Honor is very busy and doesn't remember this case, bi
this case ~--

THE COURT: No. I actually remember it.

MR. GREENBERG: Good. Then Your Honor will
remember that we delayed to call this case for quite some

time because Mr. Powell was not here, and Your Honor calle

the case at 11:02.
THR COURT: Your client wasn't here either on

that date, as I recall.

MR. GRERNBERG: That's correct, and I expressec
concern about the safety of my client. So while the court
officer called the case at about 9:32, Your Honor didn't
hear it until about 11:00. This was a 9:30 case, so I don

know how Mr. Powell couldn't have found his case within an

hour and a half.

 
Case 1:15-cv-05871-LAP Document 16-3 Filed 05/09/16 Page 33 of 71 |

Oo ~T HA AW A WN

Proceedings

 

THE COURT: His case was dismissed, He paid
conseguence of not being here.

I think the bigger issue is your client is ab
to get arrested. And I am hearing that right now, and

perhaps that makes me concerned about whether I actually

 

need to continue an Order of Protection in this case,
because he is not getting arrested, she is getting arrest |
Detectives investigated the stories? |
DETECTIVE SIMMONS: Yes.
THE COURT: And don't find her story to be
credible?
DETECTIVE SIMMONS: No.
MR. GREENBERG: We have a couple of competing |

i

issues. Issue number one, and perhaps not the most

important, but I think it should be before Your Honor befc
the case is discussed before you, no request was made of n
office to surrender Ms. Price, notwithstanding the fact th |
I had lengthy conversations with detectives at the 28 |
Precinct, including Detective Flowers, who is, presumably, |
going to be the detective arresting Ms. Price today.
I had a conversation with Mr. Flowers for over |
five minutes, and at no time did he ask me to bring
Ms. Price in, nor had any request been made to me or to |
Ms. Price't other attorney to bring her in. She would have |

been brought in and this exercise, perhaps, would have bee)

 
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Case 1:15-cv-05871-LAP Document 16-3 Filed 05/09/16 Page 34 of 71

 

 

 

Proceedings
1 avoided or at least postponed. That's issue one, Your
2 Honor. :
3 Number two, there was an Order of Protection
4 sought against Mr. PoWell, whose acts of violence against
2 Ms. Price are well documented by hospital reports and so
6 forth. The detectives have come in here, and I understanc
7 their responsibilities, as they see them, but they come ir |
B here without any adjudication at all based on, solely, the
9 word of Mr. Powell, whom Your Honor has already awarded
10 Orders of Protection against, presumably, because Your Hor |
Lf was—satisf£ied.
12 THE COURT: Excuse me.
13 An ex~parte order of Protection -~ Everyone co: |
14 in here and does an ex-parte the first time, and I ~- This
15 is the first time I have the parties in front of me.
16 MR. GREENBERG: That's true. |
a Not all ex-partes. Ms. Price had been here
18 before. |
19 MR. O'HEARN: The most recent one was ex-parte |
20 because he didn't show up, but that's not the initial one.
21 There was evidence that satisfied Your Honor to issue an |
22 Order of Protection, apparently, where Mr. Powell was here |
23 on prior occasions.
24 MR. GREENBERG: My recollection, Your Honor, i
25 when IT was here three or four weeks ago, Your Honor statec |

 
Case 1 Lee ESTA K RED ot oir : |

Case 1:15-cv-05871-LAP Document 16-3 Filed 05/09/16 Page 35 of 71

|
‘ o t
Proceedings

 

1 blackmail from the text messages from Mr, Powell to mysel
2 letting me know exactly what would happen to me if I ever
3 did such things like leave him, report the physical ongoi
4 physical abuse.
5 THE COURT: Were the nude photos you are allec
6 on there?
7 MS. PRICE: No. He never sent them to me.
8 THE COURT: How, again, did you know there wer |
|
9 photos of you? |
10 MS, PRICE: People in my neighborhood and
7 Li. children in my neighborhood taunt mé and taunt me with thr”
12 phones when I walk by.
13 THE COURT: Did you see what was on the
14 children's phones?
15 MS. PRICE: No, I did not. |
L6é I am happy to present respectable adults in my
17 neighborhood, especially the owners of the livery cabs
18 around the corner from me, who showed them to me and said |
19 cannot believe this is happening to you and are willing a |
20 testify. |
21 THE COURT: I am going to let them do whatever
22 they have to do, arrest your client.
23 I will ‘give you another date to come back.
24 I will put in a usual terms Order of Protectioi
29 and refrain from communication. If he is going to renew h

 
 

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Case 1:15-cv-05871-LAP Document 16-3 Filed 05/09/16 Page 36 of 71 |

Proceedings

 

1 request, Mr. O'Hearn, he needs to do that. This is again:
2 him.
3 She actually, quite frankly, based on the
4 allegations, I am willing to bet that the Criminal Court
5 will also put in an Order of Protection in place. But yo |
6 client can decide if he wants to file here, and I will gis ®
7 you a date to come back to court. |
8 MR. GREENBERG: May I make a request with resp |
9 to a return date, if it suits the Court?
10 THE COURT: Sure.
it MR-—GREENBERG:—1-ean-have—any—date_in the las |
12 two weeks of April, but the first two weeks I can't and I |
13 can't in May. So any date anytime that the Court wants f) |
14 April 18th to the end of the month is fine with me.
15 MR. O'HEARN: I am out the last week of April.
16 THE COURT: I am not here on the 18th or the
17 19th.
18 MR. GREENBERG:: Any date that week. |
19 THE COURT: How about the 21st?
20 MR. O'HEARN: I am out that weekend.
Zi THE COURT: You are out the 18th.
22 How about May 2nd? That certainly will give t
23 Criminal Court matter time for us to know what's going on |
24 there. :
25 I could bring you in earlier. I could bring y |

 

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Case 1:15-cv-05871-KPE_ Document 21-4. File 09/0211 6 se lan an
Case 1:15-cv-05871-LAP Document 16-3 Filed 05/09/16 Page 37 of 71 |

Proceedings

in on April 13th or 14th, but, otherwise, we are going to
May 2. . |
MR. O'HEARN: I can appear on May 2nd.
MR. GREENBERG: I will do May 2nd if I have tc .
At what time, Your Honor?
THE COURT: Let me pick an available time. |
11:00 a.m.
MR. GREENBERG: That's fine. All right.

THE COURT: I will see you all then.

 

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Thank you. _|

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Court Reporter's Certification
I hereby certify that the foregoing transcript is a true

|

and accurate record of the stenographic proceedings in the abo |
|

|

J .
Kivty S. Irizarry 4

Official Court Reporter

matter.

 

 
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Case 1:15-cv-05871-LAP Document 16-3 Filed 05/09/16 Page 38 of 71

 

Exhibit R

 
 

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Case 1:15-cv-05871-LAP Document 16-3 Filed 05/09/16 Page 39 of 71

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CRIMINAL COURT OF THE CITY OF NEW YORK

 

TUT

COUNTY OF NEW YORK
Page { of |
THE PEOPLE OF THE STATE OF NEW YORK FAMILY OFFENSE
-apainst- DEFENDANT/VICTIM
areas | 7 Saab RELATIONSHIP:
. Kelly Price (ff 3 A’ ;
elly Price (1 40) aneTa INTIMATE/ACCESS
MISDEMEANOR.

212-335-9522

 

Detective Samuel Fontanez, shield 00311 of the 028 Detective Squad, states as
follows:

On April 30, 2011, at about 06;0Thours inside of 315 West 116th Street in the
County and State of New York, the Defendant conunitted the offenses off

{. PL215.50(3) Criminal, Contempt in the Second Degree
(1 count)

the defendant engaged in intentional disobedience to the lawful mandate-of a court in
other than-alabor dispute.

‘The offenses were committed under the following circumstances:

_ _Deponent states that deponent is informed by Raheem Powell, of an address
known to the District Attomey's Office, that defendant called informant on the telephone
and stated in substance: ARE YOU RECORDING ME? I WANT TO TALK TO YOU
SO WE CAN WORK. THINGS OUT. Deponent is further informed that informant has
known defendant for more than two years and informant reco gnized defendant's yoice.

Deponent states (i) that the above actions by defendant are in violation of an order
of protection issued on March 24, 2011 by Judge Amaker , docket number
201 1NY021627 , and which remains in effect until May 10, 2011 , (ii) that the order of
protection directs the defendant to refrain from communication or any other contact by
mail, telephone, e-mail, voicemail or other electronic means with Raheem Powell , and
(iii) that defendant is aware of the order of protection in that defendant was present in
court when the court order was issued and the order of protection is signed by the
defendant.

™.
False statements made herein are punishable as 4 class A misdemeanor pursuant to
sectlon 210.45 of the penal Jaw.

DA Oh ysu Sl bl

Depouent — VJ \F Date and Time

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CRIMINAL COURT OF THE CITY OF NEW YORK
COUNTY OF NEW YORK: PART D

THE PEOPLE OF THE STATE OF NEW YORIs

~apalnst- SUPPORTING DEPOSITION
C.P.L. § 100.20
KELLY PRICE,
Docket No. 2011NY032918
Defendatt. :

 

 

I, Ralicemn Pawell, of an address lriown to the District Attorney's Office, County of New

York County , State of New York, being duly sworn, depose and say:

that I have read the Accusatory Instrument filed in. the above-gn titled action and attached
hereto and that the facts therein. stated to be on information furnished by me are true upon my

personal knowledge.

False. stateenents. mate barvin are prnvishable as dase A
misdemeanor FE. to section 210.45 of the penal law.

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Signature (Deponent) <<
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Case 1:15-cv-05871-LAP Document 16-3 Filed 05/09/16 Page 41 of 71

 

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/ | Pocketbook / | Belts Néck Chain yi Ss
| | Gloves / | Shoes/Sneaker carving J. 7.4
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Cl You have submitted the item to us voluntarily for safekeeping.

 

 

 

 

 

 

 

 

 

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5/09/16 Page 43 of 71

 
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Case 1:15-cv-05871-KPF Document 21-4 -Fited-09/02/16 Page 50-ef66———_
Case 1:15-cv-05871-LAP Document 16-3 ‘e\ Page 44 of 71

DEBRIELING AGREEMENT

With respect to the meeting of Kenya Wells, an Assistant District Attorney in the Office.
of the District Attorney for New York County ("Office") with Kelly Price ("Client") to be held:
on the date of this memorandum, the following understandings exist:

(1) Should any prosecutions be brought against Client by this Office, this Oflice will not
offer as evidence in its case-iit-chief any statement made by Client at the meeting, except ima
prosecution for false statements orperjury. :

(2) Notwithstanding paragraph. one, (a) this Office may use information derived directly
or indirectly from Client's statement at the mecting Jor the purpose of obtaining leads to other’
evidence, and if any such evidence is developed, it may-he used in any prosecution: of Clien& and
(b) should any: prosecution. of Client be undertaken, this Office may use statements made: by:
Client at the meeting and all evidence ob ined directly or indirectly therefrom for the purpose

should Client testify, or t widence offered by or on behalhof

 

  
       
     

   

  
 
 
  
   
 

mients made by Client at the meeting held on this,
a does: sply to any oral; written. recorded sialements made by Client atany other. ete
tine. No understandings, promises, agreements, or vonditions have been entered. into. with:
respect to the meeting other than those set forth in this agreement, and none will be enteted into’

sig eps

   

 

 

 

   

 

 

DATED: New York, New York ©
June 21,2011

CYRUS BR. VANCE, JR,
District Attorncy .
New York County

   

Assistafff District Attorney

  
 

CAMA

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Attorney for Client

 
 

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Case 1:15-cv-05871-LAP Document 16-3 Filed 05/09/16 Page 45 of 71

Exhibit U

 
Case 1:15-cv-05871-KPF Document 21-4 Filed 09/02/16 Page 52 of 66
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Case I'15-Cv-05871-KPF Document 21-4 Filed:09/02/16 Page 53 of 66
Case 1:15-cv-05871-LAP Document 16-3 Filed 05/09/16 Page 47 of 71

Exhibit ¥

 
 

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Exhibit W

 
 

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Case 1:15-cv-05871-LAP Document 16-3 Filed 05/09/16 Page 52 of 71 |

People v Price (Kelly)

2016 NY Slip Op 50231(U)

Decided on February 25, 2016

 

Appellate Term, First Department

 

 

Published by New York State Law Reporting Bureau pursuant to J udiciary Law § 431.

 

This opinion is uncorrected atid will not be published in the printed Official Reports.

 

 

 

Decided on February 25, 2016

SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT
PRESENT: Schoenfeld, J.P., Shulman, Hunter, Jr. NV.

571134/12

The People of the State of New York, Respondent, -
against

Kelly Price, Defendant-Appellant.

Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Robert M. Mandelbaum, J.),
rendered October18,2012,-convicting him,-aftera nonjury. trial, of two counts of disorderly conduct, and imposing sentence,

Per Curiam.

Judgment of conviction (Robert M. Mandelbaum, J.), rendered October 18, 2012, reversed, on the law and the facts, and the
accusatory instrument is dismissed.

The verdict convicting defendant of two counts of disorderly conduct (see Penal Law §§ 240.20{2], [3]), was not based on legally
sufficient evidence and was, in any event, against the weight of the evidence. The trial evidence showed that defendant called police
after she was asked to leave a midtown Manhattan bar on a Saturday evening; the responding officers observed defendant to be visibly
upset and they tried to calm her down; upon interviewing people inside the bar, the officers informed defendant that there was no
action that they could take on her behalf; defendant was angry, but walked away from the scene; and that as defendant was
approximately 20 feet away from the officers, she turned her head and shouted an epithet at them, On these facts, defendant's intent to
cause public inconvenience, annoyance, or alarm, or recklessness in creating such a risk, was not established beyond a reasonable
doubt (see Penal Law § 240.20 People v Baker, 20 NY3d 354 [2013]. Defendant's conduct did not indicate an intent to breach the
peace, or even constitute an act from which a breach of the peace was likely to occur (see People v Johnson, 22 NY3d 1162 [2014];
People v Baker, supra; People v Pritchard, 27 NY2d 246 [1970]; People v Smith, 19 NY2d 212 [1967]).

THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT. |

I concur | concur I concur

Decision Date: February 25, 2016
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SUPREME COURT OF THE STATE OF NEW YORK
APPELLATE TERM: FIRST DEPARTMENT

 

 

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THE PEOPLE OF THE STATE OF NEW YORK,
Respondent,
-against- !
KELLY PRICE, :
Defendant-Appellant.
x

 

STATEMENT PURSUANT TO RULE 5531
1. The docket number in the court below was 2011 NY016509.
2 “The full names of the original parties were People-of the State-of New-York

against Kelly Price. There has been no change of parties on appeal.

3, This action was commenced in Criminal Court, New York County.
|

4. This action was commenced by the filing of an accusatory instrument.

= This appeal is from a judgment convicting appellant, after a bench trial, of two

counts of disorderly conduct (P.L. §240.20(2); P.L. §240.20(3)).

6. This is an appeal from a judgment of conviction rendered October 18, 2012 i
(Mandelbaum, J., at trial and sentencing),

% Appellant has been granted permission to appeal as a poor person on the original

record. The appendix method is not being used. |
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PRELIMINARY STATEMENT

This is an appeal from a judgment of the Criminal Court, New York County, dated
October 18, 2012, convicting appellant, after a bench trial, of two counts of disorderly
conduct (P.L. §240.20(2); P.L. §240.20(3)), and sentencing her to a conditional discharge
and three days community service (Mandelbaum, J., at trial and sentencing).'

Timely notice of appeal was filed and, on January 7, 2013, this Court granted
appellant leave to appeal as a poor person on the original record and typewritten briefs,
and assigned Seymour James, Jr., successor to Steven Banks, as appellate counsel.

Appellant did not have any codefendants below. She is not incarcerated pursuant

to the judgment above.

QUESTION PRESENTED

Whether the convictions should be reversed and the
accusatory instrument dismissed where the evidence was
insufficient to establish that appellant had the requisite mens
rea to commit disorderly conduct. U.S. Const., Amend. XIV;
N.Y. Const. art. I, §6; P.L. §240.20.

 

' References are to the trial transcript (Part 1), dated October 17, 2012; Those preceded by "T"
are to the combined trial minutes (Part 2) and sentencing minutes, dated October 18, 2012.

The original complaint, which charged appellant with one count of disorderly conduct P.L.
§240.20(3)), was replaced by a Prosecutor's Information charging her with both P.L. §240.20(2)
and P.L. §240.20(3) (2-3).

 
 

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STATEMENT OF FACTS

Trial
On September 24, 2011, at about 10 p.m., Police Officer Matthew Winters, a

seven-year veteran of NYPD assigned to Midtown South, and his partner, Police Officer
~ Michael Relf, responded to a radio run of an assault in progress at Stitch Bar, 247 W.
37th St., New York County (27-30, 61, 64). * There, Winters was approached by
appellant, who had called to report the assault and was standing in front of the bar
waiting for the police to arrive. Winters recalled that appellant was upset and had "visible

bruises” on her arms (30, 62-64).°

 

After briefly speaking to appellant, Winters went inside the bar to hear "the other
side of the story" while appellant remained outside (30, 63-64). When Winters returned a
few minutes later, he told appellant that the police would not be charging anyone and
refused to take her complaint (30-31, 51-54, 64).

While Winters was conversing with appellant, he was standing by the curb next to
several other officers, and leaning on a phone booth with his back to the street. Appellant,
who appeared visibly exhausted, stood directly in front of Winters 3 1-34). After Winters
told appellant that the police would not assist her, appellant became more upset. The tone
of her voice became higher and her hand gesturing movements became more animated

(33). Winters testified that he tried to calm appellant down -- he told her to "calm down"

 

 

* September 24, 2011 was a Saturday.

3 Counsel told the court that, at the time of trial, CCRB was investigating the police response to
appellant's 91) complaint and the circumstances of her arrest in the instant case (12-14).
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and "speak lower." Appellant lowered her voice but, as she grew more excited, the tone
of her voice became elevated (33-34, 54-55), |
Appellant communicated to Winters, who spoke to appellant for about five |

|

|

minutes, that she was upset about the way the police were handling her complaint. In

response, Winters told her to contact the Better Business Bureau if "she had a problem

with the establishment" (34-35, 65-67, 70-71). After Winters made the remark, appellant

started walking away from the bar towards Eighth Avenue, When she had walked about
20-25 feet, appellant glanced over her shoulder and yelled to Winters, "go f--- yourself"
in a tone that Winters ranked as 9 on a 1-10 scale with 10 being the highest. Because
appellant's remark was "loud enough for others to hear,” Winters immediately grabbed

appellant and placed her under arrest (34-35, 55-58, 65-68, 70-71). Winters did not recall

appellant making any other derogatory statements prior to her arrest (36-37).
Throughout the course of their conversation, Winters recalled, appellant's tone
"fluctuated up and down" with her emotions. After he told her that police would not be
charging anyone, appellant became more upset and her tone became higher (66-69). |
From the time Winters first responded to the time of appellant's arrest, Winters
estimated that there were about twenty people in the area. "There were a few [people] in

front of the bar, a few to my left, a few to my right, and a few across the street" (35). He

 

‘The People introduced a videotape showing the police responding to the scene, and Winters
speaking to appellant, entering the bar, exiting the bar, and again speaking to appellant, who
could be seen waving her arms (51-54, 65; People's exhibit number 2).

 
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testified that "[p]eople were walking through us as we were speaking with the defendant"

and that some people stopped on the sidewalk (3 71)0

 

When Police Officer Michael Relf, Winters’ partner, first observed appellant, she |
was animated and “on the verge of crying” (T. 16-19, 26-27). As appellant described the
incident, Relf recalled, the tone of appellant's voice fluctuated considerably — she spoke
calmly one minute, and was yelling the next (T. 16-19, 26-27). After Relf and his partner
spoke to the bar manager and two patrons, they decided not to arrest anyone for assault
(1. 20-21, 28).

Although appellant was initially calm when Winters told her that the police would
not be making an arrest, she became upset after Winters refused to take her statement.
Appellant, who felt as if she had been wronged, Relf testified, then purportedly became
“animated and aggressive" and she told Winters that NYPD was "worthless" and "she is
the victim" (T. 20, 28-30). ° After appellant yelled "go f--- yourself" as she was walking
away from the scene in a tone Relf described as a 9,’ Winters arrested appellant for using
"obscene language easily within hearing of the general public" (T. 22-25, 30-31).

Relf described the area as mostly commercial. Although there were about ten

people in the general area and appellant's comments caused some pedestrians to glance

° The court stated that it would only consider the "go f--- yourself" statement because the other
statements contained in the complaint were apparently made after appellant was arrested and
would be precluded (38).

 

 

6 When asked to describe the tone of appellant’s voice at the time she made the comments, Relf
testified her tone was a7 or 8 on ascale of | to 10 with 10 being the highest (T. 28).

7 Ona scale of | to 10 with 10 being the highest tone (T. 30-31).
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over, appellant did not try to engage any of them and none of them got involved (T. 20-
21, 24-31).

When Midtown South Police Officer Dianne Melidones responded to Stitch Bar,
Winters was on the sidewalk in front of the bar talking to appellant, who appeared
"agitated" and was waving her hands around, and Melidones remained with appellant
when Winters went inside the bar (72-75; T. 3-5). When Winters returned and informed
appellant that the police would not help her, appellant's tone became elevated. After
Winters told appellant to contact the Better Business Bureau about her complaint,
appellant started walking away from the scene. As she was walking away, appellant was
purportedly "screaming and carrying on" and, after she told the police "go f--- yourself,"

Wiriters proceeded to arrest her (77-79; T. 2, 9-12).

 

During the encounter, Melidones testified, a few pedestrians glanced over as they
passed by but continued walking and did not have any audible reaction, and a “crowd of
five people gathered across the street" (75-79; T. 9, 13-15). Appellant made no attempt to

engage any of the bystanders or pedestrians (T. 9-11).

The Defense Motion to Dismiss

After the People rested, counsel moved for a trial order of dismissal. The defense
maintained that the People failed to make out a prima facie case since the evidence was
insufficient to support the inference that appellant acted intentionally or recklessly to
create a public safety risk. Citing, inter alia, People v. Munafo, 50 N.Y .2d 326 (1980),

counsel noted that the dispute was a private matter solely between appellant and the

 
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police -- specifically officer Winters -- regarding her assault complaint. Although a few
pedestrians glanced in appellant's direction as they walked by, they did not get. involved
and there was no indication that appellant sought to incite or involve the public or that the
public was inconvenienced, annoyed, or alarmed. Thus, counsel continued, the
circumstances did not support the inference that appellant intentionally or recklessly
created a risk that the private dispute between her and the police would extend its
boundaries and become a public issue (T. 33-37, 40-48).

In response, the prosecutor conterided that yelling "go f--- yourself" in a loud tone
-- even just once — is sufficient to establish "unreasonable noise" under subsection (2) of
P.L. §240.20 (T. 49-50). Citing People v. Weaver, 16 N.Y.3d 123 (2011), the prosecutor
furtier argued that appellant's use of “profanities one time" -was sufficient to satisfy Pb:
§240.20(3), and that the noise and obscene language recklessly "created a risk to the
public" (T. 49-53).

The court denied the defense motion (T. 57).

The Closing Arguments

Counsel maintained ‘that the People failed to prove beyond a reasonable doubt that
appellant had the requisite mens rea or actus rea to commit disorderly conduct. Appellant
sought out the police after she was assaulted and when they refused to take her complaint,
she became justifiably upset with Winters. At no point, however, did appellant attempt to

involve or incite others and, although a few curious pedestrians turned to look, they

 

 
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continued walking, and there was no evidence it caused them to become inconvenienced,
annoyed, or alarmed or created a risk to public safety (T. 58-61, 66-68).

Counsel further noted that appellant made the derogatory remark to Winters
because she was nervous and upset with Winters, and not to intentionally incite others
and, moreover, the disorderly conduct statute was not intended to criminalize the conduct
here — a single derogatory remark made during a private dispute with a police officer.
Counsel also pointed out that the encounter occurred in midtown Manhattan, where the
public is constantly barraged with sirens and other loud noises, which is relevant in
assessing whether the noise was "unreasonable" (T. 59-68).

In response, the People contended that appellant intended to cause public

inconvenience, annoyance, or alarm because she was “already agitated and worked up

 

and then became even more agitated when they told her they would not arrest the person
but when they told her she should go to the Better Business Bureau she got even more
upset because she wasn't having her own way and she continued yelling and cursing and
then walked away from the place. At the moment she said 'go f--- yourself [in a loud

tone] we know that her intention was to cause public inconvenience, annoyance, or alarm
[because] she did not state to the police officers 'go fuck yourself’ when she was standing
right in front of them within 2 to 3 feet" (T. 71-75). According to the prosecutor, because
appellant was aware that members of the public were in the area, by making unreasonable

noise and yelling obscenities and gesturing, she recklessly created a risk to others (T. 77-

82).
